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CMC/2010R00732 IN THE UNITED STATES DISTRICT COUR_Tn§ 7 1 1 ;1]>111-1
FOR THE DISTRICT OF MARYLAN'D_"-.' ' ` " q `
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UNITED STATES ()F AMERICA : CRIMINAL NO. (Q r{ i_ '_© 7 4
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v' (Conspiracy to Po§_§,ess With lntent to j d
Distribute Heroin,`"Zl U.S.C. §846;
§E€NRTB]:;:;J¥;EWS _ Possession With Intent to Distribute Heroin,
’ ` 21 U.S.C. §84l(a)(1); Aiding and Abetting,
Defendants : 18 U S C §2)

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C()UNT ONE
The Grand Jury for the District of Maryland charges:
On or about April 28, 2010, in the State and District of Maryland,

UMAR BURLEY,
BRENT MATTHEWS,

the defendants herein, did knowingly, intentionally and unlawfully combine, conspire, confederate
and agree with each other and With Others known and unknown to tlie Grand Jury to knowingly,
intentionally and unlawfully possess with intent to distribute a quantity of a mixture or substance
containing a detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21,

United States Code Section 84l(a)(l).

21 U.s.C. §346

 

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QQ_U_N_HW_Q
The Grand Jury for the District of Maryland further charges that:
On or about April 28, 2010, in the State and District of Maryla_nd,

UMAR BURLEY,
BREN'I` MATTHEWS,

the defendants herein, did knowingly, intentionally and unlawfully possess with intent to distribute
a quantity of a mixture or substance containing a detectable amount of heroin, a Schedule I
controlled substance

21 U.S.C. §s41(a)(1)

l8 U.S.C. §2
Rod J. Ro§enstein y
United States Attorney
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Date

